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UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RIC()

CATEGORY SHEET

 

You must accompany your complaint With this Category Sheet, and the Civil Cover Sheet (JS-44).

 

 

Attomey Name (Last, First, l\/Il): islipec F{ubiO, Katarina

USDC-PR Bar Number: l

Email Address: §kStipeC@amgpr|aW.COm

 

 

l. Title (caption) ofthe Case (provide only the names ofthe first party on each side):

 

 

 

Plaintiff: Nlint Bank |nternationa|, LLC and Guy Genti|e Nigro
Defendant: Office of the Commissioner of Financia| institutions of Puerto Rico
2_ indicate the category to which this case belongs:

53 Ordinary Civil Case
iw Social Security
IM Banking

lw injunction

3. indicate the title and number of related cases (ii` any).

4. Has a prior action between the same parties and based on the same claim ever been filed before this Court?

l'" Yes
i“>“<“ No

5. ls this case required to be heard and determined by a district court ofthreejudges pursuant to 28 U.S.C. § 2284?

i`“ Yes
§<M No

6. Does this case question the constitutionality ofa state statute? (See, Fed.R.Civ. P. 24)

fw Yes
§>_<' No

Date Submitted: gu|y 3, 2018

rev. Dec. 2009

 

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